     Case 2:17-cv-02575-DMG-PLA Document 8 Filed 04/07/17 Page 1 of 1 Page ID #:22



                                             UNITED STATES DISTRICT COURT
                                            CENTRAL DISTRICT OF CALIFORNIA

Christopher Phillips,                                              CASE NUMBER


                                                                                2:17-cv-02575 SVW (RAOx)
                                                   PLAINTIFFS)
                               V.
McCarthy Burgess and Wolff, Inc., et al,                                   ORDER RE TRANSFER PURSUANT
                                                                             TO GENERAL ORDER 16-05
                                                                                (RELATED CASES)

                                                             CONSENT

    I hereby consent to the transfer of the above-entitled case to my calendar, pursuant to General Order 16-05.

                   ~                                                               Dolly M. Gee
                       ate                                        United States District Judge

                                                        DECLINATION
    I hereby decline to transfer the above-entitled case to my calendar for the reasons set forth:




                    Date                                          United States District Judge

                               REASON FOR TRANSFER AS INDICATED BY COUNSEL
     Case 2:1 S-cv-05559 DMG(PLC) and the present case:

~ A.           Arise from the same or closely related transactions, happenings or events; or
0 B.           Call for determination of the same or substantially related or similar questions oflaw and fact; or
✓ C.
~              For other reasons would entail substantial duplication oflabor if heard by different judges; or
~ D_           Involve one or more defendants from the criminal case in common,and would entail substantial
               duplication oflabor if heard by different judges (applicable only on civil forfeiture action).



                                             NOTICE TO COUNSEL FROM CLERK
        Pursuant to the above transfer, any discovery matters that are or may be referred to a Magistrate Judge are hereby
transferred from Magistrate Judge                   Oliver             to Magistrate Judge              Abrams

        On all documents subsequently filed in this case, please substitute the initials DMG(PLAx) after the case number
in place of the initials of the prior judge, so that the case number will read 2:17-cv-02575 DMG(PLAx) .This is very
important because the documents are routed to the assigned judges by means of these initials



~~; ~ Previous Judge         ~ Statistics Clerk
CV-34(10/16)                    ORDER RE TRANSFER PURSUANT TO GENERAL ORDER 16-OS (Related Cases)
